IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Anthony Cervantes, on behalf of himself and
all others similarly situated,
Plaintiffs, Case No.: 1:20-cv-10106-PBS
v.

CRST International, Inc., CRST Expedited, Inc.,
and DOES 1 through 10,

Defendants.

Certificate of Service

I hereby certify that this document filed through the CM/ECF system will be sent electronically
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